Case 1:23-cr-20049-TLL-PTM ECF No. 1, PagelD.1 Filed 01/25/23 Page 1of 3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,
Case: 1:23-cr-20049
Plaintiff, Judge: Ludington, Thomas L.
MJ: Morris, Patricia T.
V. Filed: 01-25-2023 At 12:34 PM
DULANI MOSI DEGRATE,
Violations:
Defendant. 21 U.S.C. § 841(a)(1)
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE
Possession with intent to distribute cocaine
21 U.S.C. § 841(a)(1)

On or about January 3, 2023, in the Eastern District of Michigan, Dulani
Mosi Degrate, knowingly possessed with the intent to distribute a mixture or
substance containing a detectable amount of cocaine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a)(1).
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FORFEITURE ALLEGATION

The allegations contained in Count One of this Indictment are hereby re-
alleged and incorporated by reference for the purpose of alleging forfeiture
pursuant to Title 21, United States Code, Section 853(a).

Pursuant to Title 21, United States Code, Section 853, upon conviction of an
offense in violation of Title 21, United States Code, Section 841, the defendant
shall forfeit to the United States: (1) any property, real or personal, constituting, or
derived from, any proceeds obtained, directly or indirectly, as the result of such
offense; and (2) any property used, or intended to be used, in any manner or part,

to commit, or to facilitate the commission of, the offense.

Dated: January 25, 2023 THIS IS A TRUE BILL
s/Grand Jury Foreperson
GRAND JURY FOREPERSON

DAWN N. ISON

United States Attorney

s/Anthony P. Vance s/Roy R. Kranz

ANTHONY P. VANCE
Assistant United States Attorney
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Case 1:23-cr-20049-TLL-PTM ECF No. 1, PagelD.3 Filed 01/25/23 Page 3 of 3

Companion Case information MUST be completed by AUSA and initialed

United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

Case: 1:23-cr-20049
Judge: Ludington, Thomas L: —

MJ: Morris, Patricia T. on!
a x No Filed: 01-25-2023 At 12:34 PM

Companion Case Information
This may be a companion case based upon LCrR 57.10 (b)(4)":

Case Title: USA v. Dulani Mosi Degrate

County where offense occurred: Saginaw

Check One: X Felony _Misdemeanor _ Petty

X__Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint []
Indictment/___Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: Judge:
O Corrects errors; no additional charges or defendants.
O Involves, for plea purposes, different charges or adds counts.
O Embraces same subject matter but adds the additional defendants or charges below:
Defendant name Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

s/Roy R. Kranz
Date: January 25, 2023 Roy R. Kranz
Assistant United States Attorney
101 First Street, Suite 200, Bay City, MI 48708
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Fax: 989-895-5790
E-Mail address: Roy.Kranz@usdoj.gov
Attorney Bar #: P56903

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated.
